                Case 4:24-cv-00739 Document 1-1 Filed on 02/05/24 in TXSD Page 1 of 9

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non−Prisoner)



                                        UNITED STATES DISTRICT COURT                                                          FILED
                                                                                                                        February 05, 2024
                                                                            for the                                   CLERK, U.S. DISTRICT COURT
                                                                                                                      WESTERN DISTRICT OF TEXAS
                                                               Western District of Texas
                                                                                                                                       KG
                                                                                                                  BY: ________________________________
                                                                                                                                          DEPUTY
                                                               Midland-Odessa Division


                                                                                      Case No.                   7:24-cv-043
                                                                                )                      (to be filled in by the Clerk’s Office)
                    Ernest Adimora-Nweke                                        )
                                                                                )
                              Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.            )
If the names of all the plaintiffs cannot fit in the space above,               )     Jury Trial: (check one)           Yes         No
please write “see attached” in the space and attach an additional               )                                 ❐
page with the full list of names.)                                              )
                                  -v-                                           )
                                                                                )
                                                                                )
                                                                                )
 Harris County, Houston Police Dept., CWS Galleria,                             )
          5250 L.P. (d/b/a "M5250"), et al                                      )
                             Defendant(s)                                       )
(Write the full name of each defendant who is being sued. If the                )
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names. Do not include addresses here.)



                                  COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                            (Non−Prisoner Complaint)


                                                                          NOTICE

    Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
    electronic court files. Under this rule, papers filed with the court should not contain: an individual’s full social
    security number or full birth date; the full name of a person known to be a minor; or a complete financial account
    number. A filing may include only: the last four digits of a social security number; the year of an individual’s
    birth; a minor’s initials; and the last four digits of a financial account number.

    Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
    other materials to the Clerk’s Office with this complaint.

    In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
    forma pauperis.




                                                                                                                                                 Page 1 of 9
                Case 4:24-cv-00739 Document 1-1 Filed on 02/05/24 in TXSD Page 2 of 9

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non−Prisoner)




I.        The Parties to This Complaint

          A.         The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                           Name                                          Ernest Adimora-Nweke
                           Address                                       c/o Adimora Law Firm, 3050 Post Oak Blvd., Ste. 510
                                                                         Houston                              TX                77056
                                                                                       City                  State             Zip Code
                           County                                        Harris
                           Telephone Number                              281-940-5170
                           E-Mail Address                                ernest@adimoralaw.com

          B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person’s job or title (if known) and check whether you are bringing this complaint against
                     them in their individual capacity or official capacity, or both. Attach additional pages if needed.

                     Defendant No. 1
                           Name                                          CWS Galleria, 5250 L.P. (d/b/a “M5250” Apartments)
                           Job or Title (if known)                       Private Entity. Registered. Agent: CWS Apartment Homes LLC
                           Address                                       Attn: Registered Agent, 9606 North Mopac Expwy, Ste 500
                                                                         Austin                              TX                78759
                                                                                       City                  State             Zip Code
                           County                                        Travis
                           Telephone Number                              512-837-3028
                           E-Mail Address (if known)
                                                                                Individual capacity        Official capacity


                     Defendant No. 2
                           Name                                          Harris County
                           Job or Title (if known)                       Local Government Entity
                           Address                                       c/o Harris County Judge, Lina Hidalgo, 1001 Preston, Suite 911
                                                                         Houston                             TX                77002
                                                                                       City                  State             Zip Code
                           County                                        Harris
                           Telephone Number                              713-755-4000



                                                                                                                                       Page 2 of 9
                Case 4:24-cv-00739 Document 1-1 Filed on 02/05/24 in TXSD Page 3 of 9

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non−Prisoner)


                           E-Mail Address (if known)

                                                                                Individual capacity    Official capacity


                     Defendant No. 3
                           Name                                          Houston Police Department ("HPD")
                           Job or Title (if known)                       c/o Chief of Police - Troy Finner
                           Address                                       1200 Travis St.
                                                                         Houston                        TXC                  77002
                                                                                       City             State               Zip Code
                           County                                        Harris
                           Telephone Number                              713-308-1600
                           E-Mail Address (if known)                     Troy.Finner@HoustonPolice.org
                                                                                Individual capacity    Official capacity


                     Defendant No. 4
                           Name                                          Hannah Olivia Yarbrough-Smith
                           Job or Title (if known)
                           Address                                       2311 Mid Ln., Apt. 1013
                                                                         Houston                         TX                77027-4307
                                                                                       City             State               Zip Code
                           County                                        Harris
                           Telephone Number
                           E-Mail Address (if known)                     hannahyar@gmail.com
                                                                                Individual capacity    Official capacity

II.       Basis for Jurisdiction

          Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
          immunities secured by the Constitution and [federal laws]." Under Bivens v. Six Unknown Named Agents of
          Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
          constitutional rights.

          A.         Are you bringing suit against (check all that apply):
                            Federal officials (a Bivens claim)
                            State or local officials (a § 1983 claim)

          B.         Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
                     the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section 1983, what
                     federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?




                                                                                                                                     Page 3 of 9
                Case 4:24-cv-00739 Document 1-1 Filed on 02/05/24 in TXSD Page 4 of 9

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non−Prisoner)




          C.         Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
                     are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
                     officials?
                      N/A at the moment.



          D.         Section 1983 allows defendants to be found liable only when they have acted "under color of any
                     statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia."
                     42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
                     of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
                     federal law. Attach additional pages if needed.
                      See In re Ernest Adimora-Nweke, “Appellant’s FRAP Rules 2, 21(c), 27, & 47.7 Motion for IFP &
                      Extraordinary Writ,” U.S. Fed. 5th Circ Appeal. Cause No: 22-20472, Document No. 00516471675,
                      Filed on 9/14/2022; Available at https://ecf.ca5.uscourts.gov/docs1/00506471675

                      See also, Ernest Adimora-Nweke v. McGraw (Director), TxDPS, et al, “Petition for A Writ of
                      Certiorari,” U.S. Sup. Court Case No. 22-6773, Filed 11/14/2022; Available at
                      http://www.supremecourt.gov/DocketPDF/22/22-6773/254749/20230214151126971_20230214-
                      150708-95758816-00007291.pdf

                      See also, Adimora-Nweke v. Yarbrough-Smith, et al, “[Plaintiff’s] 4th Amendment to Original
                      Complaint,” USDC Cause #: 4:20-cv-04149, Document No. 6, Filed on 12/8/2020, S.D. TX Houston;
                      Available at https://ecf.txsd.uscourts.gov/doc1/179137240706

                      See also, Adimora-Nweke v. McGraw et al, USDC Cause # 4:22-cv-00765, Document No. 1-2
                      (“Appendix State Court Pleadings”) pgs. 3-4 (Tex. R. Civ. Pro. R. 145 - IFP granted application from
                      state court), pgs. 5-39 (“PLAINTIFFS ORIGINAL BILL OF REVIEW (INDEPENDENT ACTION IN
                      EQUITY) COMPLAINT”), pgs. 224-249 (“PLAINTIFFS 1st SUPPLEMENT TO BILL OF REVIEW
                      (INDEPENDENT ACTION IN EQUITY) COMPLAINT FOR NON-MCGRAW/TXDPS
                      DEFENDANTS & CLAIMS”), pgs. 276-298 (“PLAINTIFF’S MOTION TO CERTIFY CLASS
                      HARRIS COUNTY ET AL, MOTION FOR CLASS REPRESENTATIVE, & MOTION FOR CLASS
                      COUNSEL & COUNSEL COMPENSATION ON DEFENDANTS & CLAIMS”), & pgs. 320-326
                      (“[PLAINTIFF’S] MOTION & ORDER FOR SEVERANCE”), Filed on 3/10/2022, S.D. TX, Houston;
                      Available at https://ecf.txsd.uscourts.gov/doc1/179140168995

                      See also, Adimora-Nweke v. McGraw (Director) et al, “Plaintiff's Amended Original & Independent
                      Action in Equity Complaint, & FRCP Rule 23(a), 23(b)(1)(A), 23(b)(1)(B), 23(b)(2), & 23(b)(3) Class
                      Action Petition/Motion,” USDC Cause # 1:23-cv-01048-RP, Document No. 7, Filed on 9/13/2023,
                      W.D. Tx, Austin; Available at https://ecf.txwd.uscourts.gov/doc1/181130867834

                      See also, Ernest Adimora-Nweke v. Steven C. McGraw (Director) et al, “BRIEF OF APPELLANT
                      ERNEST ADIMORA-NWEKE,” & "APPELLANT BRIEF RECORD EXCERPTS," U.S. Fed. 5th Circ
                      Appeal. Cause No: 23-5074, Documents Nos. 9 & 11, Filed on 11/27/2023 & 11/29/2023 respectively;
                      Available at https://ecf.ca5.uscourts.gov/docs1/00506980343 &
                      https://ecf.ca5.uscourts.gov/docs1/00506982942 respectively.

                      See also, attached (1) PARTIES - COMPLAINT SUPPL., (2) CULPABLE MENTAL STATE,
                      RELIEFS, & DAMGES – COMPLAINT SUPPL., & (3) JURISD. & VENUE – COMPLAINT SUPPL.
                      **** CONTENTS OF ABOVE DOCUMENTS HEREBY INCORPORATED AS CONTENT ****


                                                                                                                        Page 4 of 9
                Case 4:24-cv-00739 Document 1-1 Filed on 02/05/24 in TXSD Page 5 of 9

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non−Prisoner)




III.     Statement of Claim

         State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
         alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
         further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
         any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
         statement of each claim in a separate paragraph. Attach additional pages if needed.


         A.          Where did the events giving rise to your claim(s) occur?
                      See response to Section II(D) above.




         B.          What date and approximate time did the events giving rise to your claim(s) occur?
                      See response to Section II(D) above.




         C.          What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
                     Was anyone else involved? Who else saw what happened?)

                      See response to Section II(D) above.




IV.      Injuries

         If you sustained injuries related to the events alleged above, describe your injuries and state what medical
         treatment, if any, you required and did or did not receive.




                                                                                                                    Page 5 of 9
                Case 4:24-cv-00739 Document 1-1 Filed on 02/05/24 in TXSD Page 6 of 9

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non−Prisoner)


          See response to Section II(D) above.

          (7) Plaintiff requests all relief allowed by Fed. & TX law & equity against each, any, & all Defendants, for
          each/every incident & claim, inclusive of any & all declaratory judgment(s) or class actions sought, & attorney’s
          fees & costs. See e.g., 42 U.S.C. Sec. 1988.

          (8) As applicable, & from each Defendant, Plaintiff requests maximum damages for inter alia, (a) harm to
          liberty/freedom, (b) property loss, (c) property damage, (d) insecurity/harm to security, (e) mental anguish, (f)
          pain & suffering, (g) emotional distress, (d) embarrassment, (h) humiliation, (i) loss of income (i.e., loss of
          vested & performed/performing contracts & clients. E.g. the diamond & gold clients, etc.); (j) loss of income
          opportunities (e.g., loss of other perspective precious commodities clients, contracts/transactions, revenue &/or
          profits.); (k) loss of business’ & firm’s reputation; (l) professional harm; & (m) harm to personal & professional
          reputation.




V.       Relief

         State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
         If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
         the acts alleged. Explain the basis for these claims.




                                                                                                                    Page 6 of 9
    Case 4:24-cv-00739 Document 1-1 Filed on 02/05/24 in TXSD Page 7 of 9


See response to Section II(D) above.

***
(9) Inter alia,
(i) Plaintiff demands $750,000,000 in compensatory damages against M5350, HPD, HC, et al Defendants, as
applicable, for the HC Crim. At Law Court 8 & 15’s Cause No. 2210800 & 2214242 events, & the HC Dist. Crt.
182 Cause No. 1598318 events – including for the assault & battery, & obstruction of justice Sec. 1985 damage
claims waged;

(ii) Plaintiff demands $1,450,555,970.40 in lost vested contract/income/income opportunity (i.e., for the lost
dimaonds supply contracts – calc. at 30% of supply value) as compensatory damages against Yarbrough, HC,
HPD, Stalder, et al Defendants, as applicable, & for the HC Dist. Crt. 280’s Cause 201917921 events; &

(iii) Plaintiff’s compensatory damages for the lost vested gold supply contract is calculated as 30% the value of
gold supplied. (NOTE: 750kgs of Gold (92% purity) in supply stock at the time, 285kg/month (92% purity)
supply capacity, & supply/production growth anticipated).

***
Also, Plaintiffs requests & hereby motions for declaratory judgment, for "absolute immunity" as inapplicable for
any Defendant; & is a null & void principle hereby abolished under federal common law.

(10) As already researched, analyzied, & cited in Plaintiff's writ of cert in SCOTUS Cause 22-6773, absolute
immunity is (i) a [historic] fallacy, (ii) unconstitutional, (iii) not applicable in 42 U.S.C. Section 1983 claims, &
(iv) is not rationally related to any legitimate government interest. See SCOTUS Cause No. 22-6773,
Petitioner's Writ of Cert, Issue 2(A)(III) - hereby again incorporated by reference.

Neither [U.S.] president nor [fed] judges are immune from liability or criminal prosecution. See Art. 1, Sec. 7.
(NEVERTHELESS clause) President, Judges, & all officials can be impeached and removed too; for treason,
bribery, & other high crimes & misdemeanors. See U.S. Const. Art. 2, Sec. 4.

While judges only serve on good behavior (U.S. Const. Art. 3, Sec 1.), that "good behavior" statutory limitation
language means judges, specifically, can be impeached & removed for actions that do not constitute treason,
bribery, or any crime. Hence, even federal Judges can be impeached and removed for civil rights violations
(coramn non judice acts), or any other actions deemed improper by US Congress. See e.g., 28 U.S.C. 455(a) &
(b), See also, Marhsall v. Jerrico Inc., 446 u.s. 238, 242-243 (1980) (discussing due proecss & disinterested,
neutrally detached judge/magistrate requirement); See also, Bass v. Hoagland, 172 F.2d 205, 209 (5th Circ.
1949) (holding government action that violates constitution as null & void)

Declaration of Independence language that all are created equal, U.S. Const. Art. 1, Sec. 7, & U.S. Const. 5th &
14th Amendments, also show that no person, president or judge, is absolutely immune from liability or from
criminal prosecution. See Decl. of Indep. (7/4/1776) U.S. Const. Amd. 5 & 14, Sec. 1; Art. 1, Sec. 7.
(NEVERTHELESS clause).

Sec. 1983 & its legislative history already also shows that Congress debated & did NOT intend for state judges
to have absolute immunity from liability. See 42 USC Sec. 1983; The Congressional Globe, 42d Cong., 1st
Session. (1871) (Rep. Platt, Rep. Rainey, Rep. Beatty, Rep. Garfield, Sen. Thurman, Rep. Lewis, & Rep.
Arthur’s congressional remarks — judicial immunity unavailable for state court judges under Civil Rights Act of
1871; congress also intended Civil Rights Act as a specific remedy to harassment litigation & unjust prosecution
injustices in southern courts.)

Supremacy Clause, 14th Amd. & Weinberger v Weinsfeld's principle of Fed equal protection applied same as
state equal protection, affirms that absolute immunity is a null & void principle towards liability or criminal
prosecution for state court judges, officials, governors, etc. See U.S. Const. Art. 6, Cl. 2 (Supremacy Clause);
Weinberger v. Wiesenfeld, 420 U.S. 636, n.2 (1975); US Const. Amd. XIV, Sec. 1.


                                                                                                             Page 7 of 9
                Case 4:24-cv-00739 Document 1-1 Filed on 02/05/24 in TXSD Page 8 of 9

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non−Prisoner)


          ***
          Also Plaintiff requests & hereby motions for declaratory judgment against Defendants on "qualified immunity"
          as inapplicable in this case. See, Taylor v. Riojas, 141 S. Ct. 52 (2020); See also, Village of Willowbrook v.
          Olech, 582 U.S. 562 (2000);
          See also, In re Ernest Adimora-Nweke, “Appellant’s FRAP Rules 2, 21(c), 27, & 47.7 Motion for IFP &
          Extraordinary Writ,” U.S. Fed. 5th Circ Appeal. Cause No: 22-20472, Document No. 00516471675, Filed on
          9/14/2022, Available at https://ecf.ca5.uscourts.gov/docs1/00506471675;
          See also, Ernest Adimora-Nweke v. McGraw (Director), TxDPS, et al, “Petition for A Writ of Certiorari,” U.S.
          Sup. Court Case No. 22-6773, Filed 11/14/2022, Available at http://www.supremecourt.gov/DocketPDF/22/22-
          6773/254749/20230214151126971_20230214-150708-95758816-00007291.pdf

          ***
          Also Plaintiff requests & hereby motions for declaratory judgment against Defendants, as applicable/as raised
          for as defense, on "soverign immunity." Tx Attorney General, acting in official capacity in USDC SDTX Cause
          No.s 4:20-CV-04149 & 4:22-CV-00765, already consented to the claims & action via TX Attorney General
          removal to federal court of the original filed action & claims in USDC SDTX No. 4:20-CV-04149 (Doc. 6), in
          the 1st independent action in equity attemt of USDC SDTX Cause No. 4:22-CV-00765 (Doc. 1-2)

          All claims against Defendants were duly pled &/or duly sought joined including post grant of extraordinary writ
          sought in Fed. 5th Circuit Cause Nos. 22-20472; & in Fed. 5th Circuit Cause No. 22-20269 (i.e., appeal action of
          USDC SDTX Cause No. 4:22-CV-00765)

VI.      Certification and Closing

         Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
         and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
         unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
         nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
         evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
         opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
         requirements of Rule 11.


         A.          For Parties Without an Attorney

                     I agree to provide the Clerk’s Office with any changes to my address where case−related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
                     in the dismissal of my case.

                     Date of signing:                        2/3/2024


                     Signature of Plaintiff                   /s/ Ernest Adimora-Nweke
                     Printed Name of Plaintiff                ERNEST ADIMORA-NWEKE

         B.          For Attorneys

                     Date of signing:




                                                                                                                      Page 8 of 9
                Case 4:24-cv-00739 Document 1-1 Filed on 02/05/24 in TXSD Page 9 of 9

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non−Prisoner)


                     Signature of Attorney
                     Printed Name of Attorney
                     Bar Number
                     Name of Law Firm
                     Address

                                                                                City   State   Zip Code
                     Telephone Number
                     E-mail Address




                                                                                                          Page 9 of 9
